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                                  UNITED STATES BANKRUPTCY COURT
                                   FOR THE DISTRICT OF COLORADO
                                     The Honorable Thomas B. McNamara


     In re:
                                                            Bankruptcy Case No. 18-10965 TBM
     11380 SMITH RD, LLC,                                   Chapter 11

     Debtor.
     ______________________________________________________________________________

              ORDER AND NOTICE OF CHAPTER 11 STATUS CONFERENCE
     ______________________________________________________________________________

       THIS MATTER comes before the Court sua sponte. The Court has conducted a preliminary
review of the file and has determined that a Status Conference should be set pursuant to 11 U.S.C. §
105(d)(1). At the conference the Debtor shall:

a)                      be prepared to inform the Court generally about the nature of the Debtor’s assets and
              liabilities, source or sources of income, any business it conducts, and the reasons for filing
              bankruptcy;

b)                    be prepared to discuss generally the Debtor’s intended plan for reorganization,
              changes in operations, insurance coverage, tax liability, restructuring of debt, use of cash
              collateral and other matters pertinent to the Debtor’s financial affairs, business or
              reorganization;

c)                     as applicable, be prepared to advise the Court regarding the Debtor’s operating
              financial projections for the period preceding the filing of a plan, a budget for the
              professionals in the case and any particularities of the case which require resolution;

d)                    be prepared to propose a schedule for the filing of a disclosure statement, the filing of
              a plan of reorganization, a bar date for filing proofs of claims and objections to claims and, if
              applicable, anticipated avoidance actions or other adversary proceedings which are critical to
              the reorganization;

e)                    be prepared to advise the Court whether the Debtor anticipates filing a separate
              disclosure statement or a simply a plan that provides sufficient information that a separate
              disclosure statement is not necessary pursuant to 11 U.S.C. §1125(f)(1);

f)                    be prepared to advise the Court whether the Debtor is required to file the Periodic
              Report Regarding Value, Operations and Profitability of Entities in Which the Debtor’s
              Estate Holds a Substantial or Controlling Interest (Official Form 26) pursuant to Fed. R.
              Bankr. P. 2015.3;
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g)            be prepared to advise the Court as to whether the Debtor qualifies as a “small
      business” pursuant to 11 U.S.C. § 101 (51C) or whether the case is a “single asset real estate
      case” as defined by 11 U.S.C. § 101 (51B); and

h)            if the Debtor is a “small business” pursuant to 11 U.S.C. §101 (51C), be prepared to
      advise the Court whether it has filed and will continue to file a Small Business Monthly
      Operating Report (Official Form 25C) as required by 11 U.S.C. §308 and Fed. R. Bankr. P.
      2015(a)(6);

i)            if the Debtor is a “small business” pursuant to 11 U.S.C. § 101(51C), be prepared to
      advise the Court whether the Debtors anticipate filing a separate disclosure statement or
      simply a plan that provides sufficient information that a separate disclosure statement is not
      necessary pursuant to 11 U.S.C. §1125(f)(1);

j)            if the Debtor is a “small business” pursuant to 11 U.S.C. § 101(51C), be prepared to
      advise the Court of any current or prospective failures to fully and timely comply with 11
      U.S.C. § 1116;

k)    be prepared to advise the Court regarding the status of any pending motions; and

l)           be prepared to identify any other issues that may require prompt attention of the
      Court or otherwise may be necessary to ensure expeditious and economical resolution of this
      case.

      IT IS THEREFORE ORDERED that:

a)            The Debtor shall appear before the Honorable Thomas B. McNamara on Friday,
      March 23, 2018, at 3:00 p.m., in Courtroom E, United States Bankruptcy Court, U. S.
      Custom House, 721 19th Street, Denver, Colorado 80202, for a Status Conference. Failure of
      the Debtor to appear shall result in the setting of a hearing to show cause why appropriate
      sanctions should not be imposed for failing to appear, which sanctions may include dismissal
      of the case.

b)    FORTHWITH, Debtor shall: (1) serve a copy of this Order on the United States
      Trustee, all creditors, other parties-in-interest, and those who have filed an entry of
      appearance and request for notice in this case; and (2) file a certificate of service
      with the Court, evidencing compliance with this Order, no later than fourteen (14)
      days prior to the scheduled hearing.

      DATED this 20th day of February, 2018.          BY THE COURT:


                                                      ______________________________
                                                      Honorable Thomas B. McNamara,
                                                      United States Bankruptcy Court Judge
